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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                      No. CR-18-00422-PHX-SPL
10                  Plaintiff,                        ORDER
11   v.
12   Michael Lacey, et al.,
13                  Defendants.
14
15            Defendant James Larkin has filed a motion to amend the conditions of his pretrial
16   release (Doc. 171), and a motion to remove the motion to amend from the public docket,
17   file it under seal, and submit a redacted version of the motion for public filing.
18   (Doc. 173.) Defendant Larkin asserts that the motion to amend refers to an order that was
19   filed under seal in the Western District of Washington and, therefore, he seeks leave to
20   file a redacted version of the motion to amend to remove that information from the public
21   docket. (Doc. 173 at 3.) The government does not oppose the motion. The Court finds
22   good cause to place the motion to amend (Doc. 171) under seal, and allow Defendant
23   Larkin to file a redacted version of the motion to amend.
24            Accordingly,
25            IT IS ORDERED that Defendant Larkin’s Motion to Remove Document 171
26   from Public Docket, File it Under Seal, and Submit Redacted Version (Doc. 173) is
27   GRANTED.
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      Case 2:18-cr-00422-SPL Document 182 Filed 06/07/18 Page 2 of 2



 1          IT IS FURTHER ORDERED that the Clerk of Court shall place docket 171
 2   under seal.
 3          IT IS FURTHER ORDERED that the Clerk of Court shall file the redacted
 4   version of the amended motion to amend (lodged at Doc. 173-1).
 5          Dated this 6th day of June, 2018.
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